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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                      Case No. 8-21-71678-ast
Peter John Sutherland,
aka Peter J. Sutherland,                                              Chapter 13

                                    Debtor.                           Hon. Alan S. Trust
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                ORDER GRANTING: (A) RELIEF FROM THE AUTOMATIC
                STAY PURSUANT TO 11 U.S.C. §362(d)(1) and (d)(2); AND (B)
                   IN REM RELIEF PURSUANT TO 11 U.S.C. §362(d)(4)

          On December 9, 2021, the Motion (the “Motion”) of Selene Finance LP, as servicer for

Wilmington Savings Fund Society, FSB, d/b/a Christina Trust, not individually, but as Trustee for

Pretium Mortgage Acquisition Trust (“Movant”), dated November 9, 2021 came before the Court,

for relief from the automatic stay with respect to the collateral known as 3724 Stokes Avenue,

Bethpage, NY 11714 (the “Collateral”). This Court, having considered the evidence presented and

the arguments of the parties, and with good cause appearing therefor, it is hereby


          ORDERED, that the automatic stay in effect pursuant to 11 U.S.C. § 362(a), is hereby

terminated pursuant to 11 U.S.C. §§ 362(d)(1) and (d)(2) as to Movant, its agents, assigns or

successors in interest, so that Movant, its agents, assigns or successors in interest, may take any

and all action under applicable state law to exercise its remedies against the Collateral; and it is

further


          ORDERED, that pursuant to 11 U.S.C. § 362(d)(4), and provided that this Order is

recorded in conformity therewith, the automatic stay under 11 U.S.C. § 362(a) as to Movant’s

interest in the Collateral shall not be in effect and shall be deemed to have been terminated, and

this Order shall be binding, in any other case filed under the Bankruptcy Code, regardless of the
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federal district the subsequent case is filed in, purporting to affect the Collateral that is commenced

not later than two years after the date of this Order, such that the automatic stay under 11 U.S.C.

§ 362(a), and if a chapter 13 case is filed, the co-debtor stay under 11 U.S.C. § 1301(a), that may

otherwise be in place upon a further filing under the Bankruptcy Code, shall not apply to Creditor’s

interest in the Collateral; and it is further


        ORDERED, that the Chapter 13 Trustee shall be served with a copy of the referee’s report

of sale within thirty (30) days of the report [if applicable], and shall be noticed with any surplus

monies realized from the sale of the Collateral; and it is further

       ORDERED, that all other relief sought in the Motion is denied.




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 Dated: January 3, 2022                                                   Alan S. Trust
        Central Islip, New York                               Chief United States Bankruptcy Judge
